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                                                                                      Laura Richard
                                                                                       County Clerk
                                                                           Fort Bend County, Texas



                       NO. 22-CCV-070378

RICHARD P. JONES &          §                  IN THE COUNTY COURT
MICHAEL JOSEPH BITGOOD      §
A/K/A/ “Michael Easton”
LEWIS, BRISBOIS, BISGAARD &
SMITH LLP 1                 §
                            §
VS.                         §                AT LAW NO. THREE (3) OF
                            §
KARINA MARTINEZ,            §
MARIANNA SULLIVAN,          §
IMPERIAL LOFTS, LLC
DAVID OUBRE 2
CHINASA OGBUREKE 3
IMPERIAL LOFTS OWNER LLC 4
AND
LEWIS, BRISBOIS, BISGAARD &
SMITH LLP,
( A CALIFORNIA FOREIGN ENTITY)5
                                    §      FORT BEND COUNTY, TEXAS

       PLAINTIFFS’ FOURTH AMENDED PETITION
   FOR DECLARATORY RELIEF AND APPLICATION FOR
        TEMPORARY INJUNCTION PENDING TRIAL




    1
        See TRCP 37 and 39.
    2
        See TRCP 37 and 39.
    3
        See TRCP 37 and 39.
    4
        See TRCP 37 and 39.
    5
        See TRCP 37 and 39.
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                                                      EXHIBIT 8
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TO THE HONORABLE JUDGE OF SAID COURT:

       Come now Richard P. Jones and Michael Joseph Bitgood, a/k/a/

“Michael Easton” as well as Lewis, Brisbois, Bisgaard & Smith LLP, a

Texas domestic partnership, from herein after Plaintiffs, who bring

this suit against Karina Martinez, Marianna Sullivan, Imperial Lofts,

LLC, Imperial Lofts LLC owner, David Oubre, Chinasa Ogbureke, and

Lewis, Brisbois, Bisgaard & Smith LLP, a California Foreign Entity,

and in support they would show as follows:

         I. JURISDICTION, VENUE & DISCOVERY LEVEL

1.     All natural Plaintiffs are residents and citizens of Fort Bend

County, Texas. Lewis, Brisbois, Bisgaard & Smith is a domestic LLP

formed under the laws of, and registered with, the Texas Secretary of

State, with it’s principal offices in Fort Bend County, Texas.

2.     Defendants Martinez and Sullivan are individuals who are

residents of, and who do business in Fort Bend County, Texas.

Imperial Lofts, LLC, is an entity authorized to do business in Texas,

located and doing business in Fort Bend County, Texas. Imperial Lofts

LLC “Owner” are the true “shills” used by NRES services (Nolan) to do



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business, as Imperial Lofts, David Oubre, and Chinasa Ogbureke, on

behalf of the California entity and Martinez, Sullivan, and Imperial

conduct business in Fort Bend County, Texas using the Plaintiff LLP’s

name in an illegal and unauthorized manner reasonably calculated to

create mass confusion and damage Plaintiff LLP.

3.     This Court has subject matter jurisdiction over the claims raised

by Plaintiffs in that all or part of the torts and crimes alleged in this

petition occurred in Fort Bend County, Texas.

4.     Venue is also proper in Fort Bend County, Texas based on Tex.

Civ. Prac. & Rem. Code Ann. §15.017.

5.     Plaintiffs’ intend that Discovery Level III apply in this case.

6.     The amount in controversy at the time of the filing of this petition

exceeds the minimal amount required by law, and does not, at this time

exceed the maximum jurisdictional limits of this Court exclusive of

interest, attorney’s fees, and punitive damages.6




       6
       Because criminal conduct as defined by the laws of this state and
the laws of the United States was committed by the Defendants, the
statutory cap on punitive damages does not apply.
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                      II. CITATIONS AND SERVICE

7.      Defendants’ Karina Martinez, Marianna Sullivan and Imperial

Lofts, LLC, have appeared and are before the Court.

8.      Defendant David Oubre made a voluntary appearance on June

23rd 2022 by appearing and fling a written pleading in the case.

9.      Defendant, Chinasa Ogbureke, made a voluntary apperance on

June 23rd 2022, by appearing and filing a written pleading in the case.

10.     Defendant, Lewis, Brisbois, Bisgaard & Smith LLP, a

California foreign entity, made a voluntary appearance and

voluntarily entered this case on June 23rd 2022 by filing a

pleading in this case despite not being authorized to do business in

Texas, under the guise of they registered the disputed LLP “first”.

That alone joins the issue, and sets the stage under Chapter 37 of

Texas Civil Practice and Remedies Code as the Plaintiffs cannot be the

Plaintiffs, and also represent the Defendants.

11.     Imperial Lofts OWNER LLC, may be served by serving it’s

registered agent for service, CT Corporation System, at 1999 Bryan

Street, Suite 900, Dallas, Texas, 75201. The clerk is requested to issue



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one citation for Imperial Lofts OWNER LLC for service on CT.

                        III. BACKGROUND FACTS

12.     “Nolan Red” is a real estate company/corporation, well, sort of.

The Secretary of State shows no corporate charter nor authorization for

a company named “Nolan Red” to do business in Texas. Nolan’s latest

iteration for the purposes of fraud is NRES holdings with a myriad of

LLC’s to defraud the public, and to employ Madam Marianna Sullivan.

13.     The closest-named entity found at the Texas Secretary of State is

“Nolan Real Estate Services, Inc.,” which currently has no right to do

business in Texas.

14.     Nolan Real Estate Services, Inc., forfeited its right to do business

in Texas after acquiring a series of residential apartment complexes

then failing to follow Texas law and pay its taxes.

15.     To get around that slight issue, Nolan Red retained and used the

commercial services of Hoover Slovacek to assist them in perpetrating

various frauds, crimes, and torts against not only the State of Texas,

but also unsuspecting past tenants, potential tenants, and of course,

the courts of the State of Texas.



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16.     As part and parcel to these continuing and never ending circular

frauds, Hoover Slovacek apparently directs and advises the other

Defendants in this case on how to illegally conceal their true identity,

and appear in court as non-entities with no standing to sue the

unsuspecting and gullible citizen so that the citizen is left with no

recourse.

17.     Hoover Slovacek also appears to stand by while the Defendants

engage in criminal conduct, fraud, and directly retaliate against anyone

who dares to question this very profitable, and very illegal relationship.

18.     As just one recent example, Plaintiffs would show that from

February 1, 2018, up until December 17, 2021, Imperial Lofts LLC,

using the trade name or moniker “Imperial Lofts,” brought and

prosecuted no less than seven fraudulent eviction petitions with no

legal standing to do so.

19.     Of those seven or so petitions, Plaintiffs were the victims of this

scam, and both Jones and Bitgood were the victims of a crime, where

Hoover Slovacek was on the opposing side.

20.     To carry out the process of protecting the true corporate criminal,



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Nolan Real Estate, Hoover Slovacek apparently directed Nolan Red’s

low level minions, Karina Martinez and Marianna Sullivan, to engage

in actions which constitute criminal conduct, including, but not limited

to:

        a.    Tampering with governmental records;

        b.    Suborning and committing perjury to illegally invoke the
              jurisdiction of the courts of Fort Bend County;

        c.    Fraudulently billing Fort Bend County under the CARES
              ACT, commonly known as the Rental Assistance Program;

        d.    Directing its minions to also extort tenants for non-existent
              fees; and



        e.    Threaten with swift and very illegal court actions, anyone
              who would stand up to Sullivan or Martinez, their thefts, or
              dare to complain about Nolan and its fictitious and
              non-existent entities.

21.     After Defendants were discovered to be perpetrating these crimes

and frauds upon not only the Plaintiffs, but also upon the integrity of

the Courts, they doubled down on December 17,th 2021, after being

challenged. Hoover Slovacek apparently told Nolan Red to immediately

file an assumed name certificate outside of Fort Bend County so that it


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would not be readily located, under the mistaken belief that this

fraudulent filing with the Secretary of State was going to somehow

wipe clean their frauds, felonies, and the torts inflicted on Plaintiffs.

22.     Plaintiffs would further show that Martinez and Sullivan, with

the apparent blessing of Hoover Slovacek

        a.    invaded the privacy rights of Plaintiffs;

        b.    haled them into court with no standing to do so; and

        c.    committed felony offenses to intimidate and silence the
              Plaintiffs;

        d.    procured unfounded criminal charges against Easton; and,

        e.    schemed to procure unfounded charges against Jones using

              Edmunds’ creative “default”, and

        f.    contracted with, and aided, abetted, and encouraged Oubre,

              and Ogbureke to file pleadings and papers in the Courts of

              Fort Bend County, Texas, using the Plaintiffs LLP, an act

              they were not authorized to do as the the name Lewis

              Brisbois belongs to the Plaintiff LLP, not the defendants or

              their co-conspirators. Plaintiffs adopt and incorporate by

              reference as if set forth verbatim exhibits “A” and “B”

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              attached to the Plaintiff’s third amended petition as if

              annexed hereto and duly incorporated herein by reference,

              the initial assumed name filing in Fort Bend County, Texas,

              that was later followed up with an LLP formation with the

              same name with the Secretary of State,

23.     Plaintiffs seek a declaration from the Court, by way of jury

charge, under Chapter 37 of the Texas Civil Practice and Remedies

Code that the Defendants have engaged in a scheme and plan and have

conduced an enterprise directed at concealing Nolan Red’s true

identity, stolen the identity of Plaintiff domestic LLP to carry out and

execute a scheme to defraud the tax payers as well as the State of

Texas which has visited harm, not only on these Plaintiffs, but also on

countless otherwise law-abiding citizens. Clearly, there cannot be a

Plaintiff named Lewis, Brisbois, Bisgaard & Smith LLP (from herein

after the Lewis LLP), and a set of imposters, Oubre and Ogbureke,

signing their names to pleadings and documents without the consent of

the LLP. This is tantamount to the Lewis LLP, suing itself, something

only Brice Beale, from Hoover-Slovacek, has managed to accomplish.



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For these reasons, Plaintiffs seek both a temporary and permanent

injunction to enjoin all the defendants from using the Plaintiff LLP’s

name anywhere in the State of Texas, along with all the proceeds that

were billed and collected by the phoney Lewis Brisbois since May 26th,

2022, along with a declaration that the phoney Lewis Brisbois has no

partnership, limited or otherwise in the State of Texas.7

24.     Plaintiffs’ would show that in at least five cases brought by

Martinez and Sullivan brought before justice of the peace Justin Joyce

of Fort Bend Precinct Three (pre-2022, now Precinct 4), evicted the

tenants when neither Martinez nor Sullivan improperly and by felony

conduct purported to invoke the jurisdiction of the court and, when the

issue of jurisdiction was raised in at least one case, the justice of the

peace essentially stated that was not his concern.



        7
       By way of clear explanation, the phoney Lewis Brisbois
voluntarily gave up it’s right to do business in Texas under that name,
when despite repeated warnings from the secretary of state directed at
Oubre, and to it’s California office to renew, Oubre did nothing, as the
secretary of state allowed him to do to surrender the name, and allowed
the foreign LLP to expire, thereby allowing the domestic LLP to
formed, registered and approved by the Texas Secretary of State. Like
any other race in the world, the first to the “finish line” is declared the
“winner” by the Secretary of State.
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25.     Plaintiffs’ will further show that Sullivan/Martinez and Imperial,

with the guidance of Hoover-Slovacek, and in return for rental

concessions, and other gifts given to, routinely use, by way of bribery,

certain members of the Sugar Land police department to harass,

intimidate, and to threaten anyone who opposes them with the threat

to procure criminal charges to gain an advantage in any civil action

against them, and to divert attention away from the serious felony

crimes committed by Martinez and Sullivan, which threaten the core

foundation of public integrity. In addition, and using attorney, David

Oubre, Martinez and Sullivan set out to interfere with the core

functions of the courts; to press law-enforcement to again charge

Easton with a criminal offense, and to use Oubre to make false

statements to the courts so as to conceal the nature and identity of the

criminal offenses committed by Martinez and Sullivan.

26.     In Easton’s case, on or about January of 2022, and in response to

the false narrative being put out by Sullivan and Martinez, Easton

responded to an inquiry by Jones’ attorney by sending her an e-mail

that discussed the very substance and truth of the matters at Imperial



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Lofts which also exposed the viciousness of Sullivan, and the mental

delusions of Martinez. The e-mail in question was copied to all parties,

and all counsel. More importantly, counsel for Martinez, Sullivan

and Imperial, Daniel Edmunds of Hoover-Slovacek, took the

email and filed it, thereby making it a matter of public record

and placing into dispute a flurry of matters that no one would

have ever placed in the pleadings or made public.

27.     On January 5th of 2022, Madam Sullivan, with the assistance of

Edmunds, induced another of her submissives at the Sugar Land

Police Department, one Bryce Spencer, to initiate a criminal charge

against Easton for an alleged violation of Tex. P. Code 42.07, with

Edmunds detailing and making the charge public in the

pleadings, while the City of Sugar Land was resisting all attempts to

confirm it, and to initiate an internal affairs complaint. 8


        8
       Officer Spencer has created his own set of problems for himself,
for while manufacturing a non-existent criminal offense, Spencer
knowingly and willfully placed false information in the offense report
knowing the entries were false, and then tendered the false entries to
the district attorney’s office. His actions constitute the felony offense of
tampering with governmental records, and because Texas is a law of
the parties state, that offense was also committed by Edmunds,
Sullivan and Martinez. See Tex P. Code 37.10.
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28.     In Jones’ case, and after Jones prevailed in his illegal eviction

scheme, Madam Sullivan, and Edmunds, then manufactured a default

so that they could once again evict Jones, and then have their

submissives at the Sugar Land Police Department arrest, and file on

Jones, for the offense of criminal trespass under Tex. P. Code 30.05 (a)

(2).

                          IV. CAUSES OF ACTION

29.     The foregoing conduct constitutes the torts of invasion of privacy,

breach of contract, fraud, abuse of process, criminal retaliation, civil-

conspiracy, malicious prosecution, intentional infliction of emotional

distress, theft, and in Jones’ case it is particularly grounded in a racial

animus as Sullivan and her counsel continue to harass and threaten

Jones with more illegal action if he fails to capitulate to the will of the

Defendants.

                        PRAYER FOR RELIEF

        WHEREFORE PREMISES CONSIDERED, Plaintiffs pray that

judgment be rendered in their favor for all actual damages, attorney’s

fees, pre and post judgement interest, and punitive damages as the



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conscience of the good citizens of Fort Bend County will allow. In

addition under Chapter 37, Plaintiffs’ pray for declaratory relief as set

forth above. Plaintiffs pray for general relief.

                         Respectfully submitted,

/s/Michael Joseph Bitgood          /s/ Susan C. Norman
a/k/a/ Michael Easton              Susan C. Norman
d/b/a/ “Michael Easton”            State Bar No. 15083020
503 FM 359, Suite 130-216          Law Office of Susan C. Norman
Richmond, Texas 77406              P. O. Box 55585
281-415-8655                       Houston, Texas 77255
                                   713-882-2066
EastProLaw@msn.com                 281-402-3682 Fax
                                   SueNorman@SueNormanLaw.com
                                   Counsel for Richard P. Jones &
                                   Lewis, Brisbois, Bisgaard & Smith
                                   LLP, a Texas Domestic Partnership.


                     CERTIFICATE OF SERVICE

      On June 24th 2022, I certify that I served a true and correct copy
of Plaintiffs’ Amended Petition via the Texas e-filing system


                                         /s/ Susan C. Norman
                                         Susan C. Norman




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Michael Easton on behalf of Susan Norman
Bar No. 15083020
EastProLaw@outlook.com
Envelope ID: 65740354
Status as of 6/27/2022 8:31 AM CST

Associated Case Party: MichaelJosephBitgood

Name              BarNumber Email                    TimestampSubmitted    Status

Michael Easton              EastProLaw@msn.com 6/24/2022 8:39:11 AM        SENT



Case Contacts

Name                BarNumber   Email                                TimestampSubmitted     Status

Kathy Truong                    Kathy.Truong@lewisbrisbois.com       6/24/2022 8:39:11 AM   SENT

David Oubre                     David.Oubre@lewisbrisbois.com        6/24/2022 8:39:11 AM   SENT

Chinasa Ogbureke                Chinasa.Ogbureke@lewisbrisbois.com 6/24/2022 8:39:11 AM     SENT

Jesenia Garcia                  jesenia.garcia@lewisbrisbois.com     6/24/2022 8:39:11 AM   SENT



Associated Case Party: Marianna Sullivan

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Marianna Sullivan               imperialgm@nolanRed.com 6/24/2022 8:39:11 AM      SENT

Marianna Sullivan               M.Sullivan@NolanRed.com    6/24/2022 8:39:11 AM   SENT



Associated Case Party: Imperial Lofts LLC

Name

Karina Martinez

Brice Beale

Marianna Sullivan

Steven RLewis

Jana Lubert

Melissa Singer
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Michael Easton on behalf of Susan Norman
Bar No. 15083020
EastProLaw@outlook.com
Envelope ID: 65740354
Status as of 6/27/2022 8:31 AM CST

Associated Case Party: Imperial Lofts LLC

Daniel SwiftEdmunds                EDmunds@HooverSlovacek.com 6/24/2022 8:39:11 AM           SENT



Associated Case Party: RichardPJones

Name                BarNumber   Email                           TimestampSubmitted Status

Susan CNorman                   SueNorman@SueNormanLaw.com 6/24/2022 8:39:11 AM            SENT



Associated Case Party: Karina Martinez

Name                BarNumber    Email                    TimestampSubmitted        Status

Marianna Sullivan                imperialgm@nolanRed.com 6/24/2022 8:39:11 AM       SENT



Associated Case Party: Michael Easton

Name                  BarNumber Email                        TimestampSubmitted       Status

Brad BBeers                       BBeers@BeersLaw.net        6/24/2022 8:39:11 AM     SENT

Brad BBeers                       BBeers@BeersLaw.net        6/24/2022 8:39:11 AM     SENT

Ronald WRobinson                  Reocom.net@gmail.com       6/24/2022 8:39:11 AM     SENT

John FHealey                      JHealeyDA@aol.com          6/24/2022 8:39:11 AM     SENT

Richard PJones                    DickeyJones365@gmail.com   6/24/2022 8:39:11 AM     SENT
